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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

         v.                                            Case No. 22-MJ-00028 (RMM)

MARK WAYNICK
JERRY MCKANE WAYNICK,


                        Defendant.

                                              ORDER

       Based upon the representations in the Unopposed Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the preliminary hearing VFKHGXOHG on February , 202 be

continued for good causeDQGVKDOOWDNHSODFHRQ0DUFKDWSPEHIRUH0DJLVWUDWH

-XGJH=LD0)DUXTXL; and it is further

       ORDERED that the time between February , 202 and March 23, 202 shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that

the ends of justice served by the granting of such a continuance outweighs the best interests of

the public and the defendant in a speedy trial,as a continuance will provide the parties additional

time to continue negotiating a potential pretrial resolution and additional time to review discovery.



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                                             THE HONORABLE ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE
